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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                         CASE NO. 20-21553-COOKE/GOODMAN

  PATRICK GAYLE, et al.,

         Plaintiffs,
  v.

  MICHAEL W. MEADE, et al.,

        Defendants.
  __________________________/

                       POST-HEARING ADMINISTRATIVE ORDER

         On April 14, 2020, the Undersigned held an emergency telephonic status

  conference regarding an expedited briefing schedule and the scheduling of an emergency

  hearing. [ECF No. 15]. At the hearing, the Undersigned ordered as follows:

  A. Deadlines

         1.     If the parties consent to the Undersigned’s jurisdiction for purposes of

  entering an order (as opposed to a report and recommendations) on Plaintiffs’ Emergency

  Motion for Temporary Restraining Order and/or Motion for Preliminary Injunction [ECF

  No. 4], then the parties shall file a joint notice of consent by April 15, 2020 at 10:00 a.m.

  The parties can consent for one motion but not the other, if they wish. The parties shall

  not, however, file anything to indicate which party took which position on the consent

  issue (other than a notice advising that all parties consented).
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         Thus, as discussed at the telephonic status conference, if the parties do not jointly

  consent to the Undersigned’s jurisdiction, then no notice shall be filed.

         2.     By April 16, 2020 at 12:00 p.m., the Defendants shall submit either a

  declaration or multiple declarations explaining what is being done at each of the three

  subject detention facilities to address the risk of the spread of COVID-19.

         The declaration(s) should directly respond to the allegations of the complaint and

  the emergency motion. [ECF Nos. 1; 4]. For example, if the complaint alleges that there

  are “cohort quarantines” where people are being quarantined in different groups at the

  detention centers, then Defendants will respond to that allegation. As discussed, the

  declaration(s) should be as detailed and thorough as possible.

         Although this is not intended to be an exhaustive list of points which should be

  addressed in the declarations, the declarations should explain, on a center-by-center

  basis, (1) how many detainees are being kept in “cohort” groups, how many are in each

  group, the nature and size of the room in which the cohorts are being kept, and the range

  of COVID-19 symptoms being exhibited in each group (e.g., mild loss of taste and a

  modest temperature increase to sustained coughing, loss of taste and significant

  temperature spikes); (2) whether staff members are issued masks and gloves, and, if only

  some staff members are receiving equipment, a description of the types of staffers who

  are receiving equipment and a similar description of those who are not; (3) the distance

  between bunks/beds, and, if the distances vary, all the distances should be provided; (4)


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  the distance between chairs or benches in the areas where the detainees eat; (5) the

  distance between showers; (6) the distance between toilets; (7) whether detainees

  exhibiting symptoms of COVID-19 are issued masks and/or gloves; (8) whether detainees

  are provided oral or written instructions on how to practice social distancing and other

  mitigation efforts, and, if so, what they are told and how the instructions are provided to

  newly-arrived detainees; (9) what other options have been explored at each facility other

  than cohort quarantining; (10) whether the detention center has COVID-19 test kits and,

  if so, whether and under what circumstances they are being used; (11) the amount of soap

  provided to each detainee, and how often the soap is dispensed; (12) the number of

  detainees (including those taken to off-site medical facilities) and staff members who

  have tested positive for COVID-19; (13) the number of detainees (including those who

  have been transferred since the tests were administered) who have been tested for

  COVID-19; and (14) how the detention centers’ managers determine which detainees are

  at a heightened medical risk for contracting COVID-19.

         3.     By April 17, 2020 at 12:00 p.m., Defendants shall file their opposition

  response to the emergency motion for a temporary restraining order.




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        4.     The Undersigned will hold a substantive hearing on April 17, 2020 at 4:00

  p.m., which will discuss whether or not Plaintiffs’ emergency motion should be granted

  or denied in whole or in part.

        DONE AND ORDERED in Chambers, in Miami, Florida, on April 14, 2020.




  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




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